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Meleshko, Kristina

From:                                          DyFoon, Nikki (Perkins Coie) <NDyfoon@perkinscoie.com>
Sent:                                          Wednesday, September 12, 2018 1:44 PM
To:                                            Tampa E-File
Cc:                                            Mourlam, Anna (Perkins Coie)
Subject:                                       Subpoena To Produce Documents, Information, Or Objects; Goines v. Lee Memorial
                                               Health System, et al.; United States District Court for the Middle District of Florida, No.
                                               2:17-cv-00656-JES-CM
Attachments:                                   Goines v. Lee Memorial Health System et al. - Civil Objection Letter.pdf


Dear Ms. Wallrapp:

Please see the attached letter from Anna Mourlam.

Thank you.
Nikki DyFoon | Perkins Coie LLP
LEGAL PRACTICE ASSISTANT TO
Michael Clyde | Adam Hester | Anna Mourlam
3150 Porter Drive
Palo Alto, CA 94304-1212
D. +1.650.838.4472
F. +1.650.838.4672
E. NDyfoon@perkinscoie.com




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immediately delete the message and any attachments without copying or disclosing the contents. Thank you.




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   September 12, 2018                                                                     Anna C. Mourlam
                                                                                 AMourlam@perkinscoie.com
                                                                                        D. +1.650.838.4396


   VIA E-MAIL AND U.S. MAIL

   Allison R. Wallrapp
   Constangy, Brooks, Smith & Prophete, LLP
   100 N. Tampa St., Ste. 3350
   Tampa, FL 33602
   tampa@constangy.com

   Re:    Subpoena To Produce Documents, Information, Or Objects
          Goines v. Lee Memorial Health System, et al.
          United States District Court for the Middle District of Florida, No. 2:17-cv-
          00656-JES-CM

   Dear Ms. Wallrapp:

           We represent non-party Facebook, Inc. (“Facebook”) and write in response to your
   subpoena of August 24, 2018. After reviewing its records, Facebook cannot identify any account
   associated with the username “donialester.” Therefore, Facebook has no information responsive
   to your subpoena as served.

           Should you identify a valid username and wish to serve an amended subpoena in the
   future, however, please first seek discovery from the plaintiff in this case. See Maxwell v. Health
   Ctr. of Lake City, Inc., No. 3:05-CV-1056-J-32MCR, 2006 WL 1627020, at *4 (M.D. Fla. June
   6, 2006) (“[I]n an effort to spare third parties the expense and cost of responding to the
   subpoenas, the Court finds that Defendant ought to first attempt to obtain such evidence directly
   from the Plaintiff pursuant to other available avenues under the Federal Rules of Civil
   Procedure.”).

            If there is some reason why you cannot obtain the information you seek from the plaintiff
   in this case, Facebook may produce this information after providing notice to the affected user
   and allowing 21 days for the user to file an objection with the court or to affirmatively authorize
   the disclosure. Please note, however, that Facebook reserves the right to object to any such
   amended subpoena on First Amendment grounds depending on the facts of the case. See, e.g.,
   Music Group Macao Commercial Offshore Limited v. Does, No. 14–mc–80328–LB, 2015 WL
   930249 (N.D. Cal. Mar. 2, 2015) (anonymous defendants’ First Amendment rights to anonymous
   Internet speech outweighed plaintiffs’ need for the requested non-content information).

         Finally, Facebook and the custodians who have control over Facebook’s data are located
   in Menlo Park, California, which is also where Facebook resides. Your subpoena, as served,
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   Allison R. Wallrapp
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   demands compliance more than 100 miles from Menlo Park, and is therefore invalid under Fed.
   R. Civ. P. 45(c)(2)(A). Should you decide to serve an amended subpoena, please be sure that it
   complies with this requirement as well.

          I trust this letter resolves this matter, but please feel free to contact me at the telephone
   number or email address above if you would like to further discuss. Facebook otherwise
   preserves and does not waive any other available objections or rights.



   Very truly yours,



   Anna C. Mourlam

   ACM:nd
